                                                                                  Motion Granted
                                                                                  for extension to
                            UNITED STATES DISTRICT COURT                          8/31/12.
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
       v.                                      )       NO. 3:10-cr-00250
                                               )       JUDGE TRAUGER
MATTHEW DEHART                                 )

                        MOTION FOR EXTENSION OF TIME TO FILE
                          RESPONSE TO MOTION TO SUPPRESS

       The United States of America, by and through S. Carran Daughtrey, Assistant United States

Attorney for the Middle District of Tennessee, hereby requests an extension of time to file a

response to the defendant’s Motion to Suppress. (R.88, 107). The government requests this

extension to allow time for the defendant’s forensic examiner to review the evidence and for the

parties to discuss a potential plea in this case. Wherefore, the government respectfully requests this

Court allow the government until August 31, 2012, to file its response.

                                                       Respectfully submitted,

                                                       JERRY E. MARTIN
                                                       United States Attorney for the
                                                       Middle District of Tennessee

                                                       s/ S. Carran Daughtrey
                                                       S. Carran Daughtrey
                                                       Assistant United States Attorney
                                                       110 Ninth Avenue South, Suite A-961
                                                       Nashville, Tennessee 37203-3870
                                                       Telephone: 615/736-5151


                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served electronically
to defense counsel, Mark Scruggs, on this, the 25th day of July, 2012.

                                                       s/ S. Carran Daughtrey
                                                       S. Carran Daughtrey




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